     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 1 of 10




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

SAMANTHA HIGNELL-STARK                   CIVIL ACTION NO. 19-cv-13773
WHITE SPIDER RENTAL
CONCIERGE, LLC.,
RUSSELL FRANK,
SAMANTHA and BOB MCRANEY,                JUDGE: IVAN L. R. LEMELLE
and JIMMIE TAYLOR
                  Plaintiffs             MAG.: Janis Van Meerveld
           versus
The CITY OF NEW ORLEANS
                  Defendant
                             Consolidated with/

KURT KLEBE                                            CIVIL ACTION NO. 22-2991
and
ZACHARY BENNETT
         Plaintiffs                                   SEC. B
versus
                                                      JUDGE: IVAN L. R. LEMELLE
The CITY OF NEW ORLEANS
                  Defendant               MAGISTRATE: Janice Van Meerveld
_____________________________________________________________________________


                     FIRST AMENDED COMPLAINT-CLASS ACTION

       The First Amended class action complaint of plaintiffs, Zachary Bennett and Kurt Klebe

respectfully represents as follows:

                                                1.

       No Answer or other responsive pleading has been filed by defendant, the City of New

Orleans, to plaintiff, Kurt Klebe’s, Complaint. Plaintiff submits this First Amended Complaint

under the provisions of Fed. R. Civ P. 15(a)(1)(B).

                                                2.

       This First Amended Complaint is filed in order to (1) assert class claims, and (2) assert
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 2 of 10




claims for damages under 42 U.S.C. 1983, in order to achieve global resolution of all claims

arising from the same nucleus of operative facts asserted in the consolidated actions. This First

Amended Complaint is also brought to add plaintiff, Zachary Bennett as a named plaintiff

because he wishes to assert his claims in that capacity and is entitled to do so.



                                  JURISDICTION and VENUE

                                                  3.

       Plaintiffs bring this action asserting violations by defendant, the City of New Orleans, of

the Commerce Clause (Art. 1, §8, cl. 3) and the First Amendment, incorporated by the

Fourteenth Amendment to the United States Constitution, and pursuant to the provisions of 42

U.S.C. 1983 and 42 U.S.C. 1988. Plaintiff seek relief under the provisions of the Declaratory

Judgment Act, 28 U.S.C. 2201, and 28 U.S.C. 2202, as well as damages under 42 U.S.C. 1983

and 42 U.S.C. 1988.



                                                  4.

       This Honorable Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. 1331

(federal question). Venue is proper in the Eastern District of Louisiana under 28 U.S.C. 1391

because defendant, the City of New Orleans, is subject to personal jurisdiction in this district, and

because the events giving rise to Plaintiff’ claims occurred and continue to occur in this district.
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 3 of 10




                                             PARTIES

                                                  5.

       Plaintiff, Kurt Klebe, is a person of the age of majority, and a resident and citizen of

Denver, Colorado. Klebe, formerly a New Orleans resident, owns a home located on Magazine

Street in New Orleans, Louisiana.

                                                  6.

       Plaintiff, Zachary Bennett, is a person of the age of majority, who owns a home in New

Orleans, and was denied a short term rental license by the City of New Orleans in 2020 because

he worked in California and was therefore ruled ineligible for a homestead exemption by the City

of New Orleans.

                                                  7.

       Defendant, the City of New Orleans, is a political subdivision of the State of Louisiana

and a municipal corporation organized under the laws of the State of Louisiana and the Home

Rule Charter of the City of New Orleans, subject to the jurisdiction and venue of this Court. At

all times relevant hereto the City acts in its official capacity as a municipality chartered under the

laws of the State of Louisiana.

                                   FACTUAL ALLEGATIONS

                                                  8.

       In December, 2016, the Council of the City of New Orleans (the Council or City Council)

adopted a series of ordinances amending the City’s Comprehensive Zoning Ordinance (CZO) and

City Code to authorize, define and regulate various categories of “short term rentals.” The CZO

defines short term rentals (“STR”s) as rental of all or a portion of a residential dwelling unit for a
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 4 of 10




period of less than thirty consecutive days. CZO Art.26.2; City Code Art. XI, Sec. 26-613, et seq.

The ordinances went into effect April 1, 2017, superceding City Code Article 54:491.1, which

purported to govern offers to rent property for less than thirty days in New Orleans. In August,

2019, the City enacted amendments to the Code and CZO governing short term rentals, which

took effect December 1, 2019. Ordinances M.C.S. 28,156 and M.C.S. 28, 157.

                                                 9.

       The City’s STR regulations require short term rentals to be licensed. CZO Art.21.8.C.14.a

(as revised by subsequent enactments); City Code Article XI, Sec. 26-615, 26-617. The Code

provides a laundry list of licensing requirements, procedures, prohibitions, and restrictions.

Art.XI, Sec.26-613 et seq. Among them, the Code requires that license-holders who advertise on

internet platforms such as Airbnb and VRBO, shall only advertise their homes as permitted by

their STR license, and may not advertise without the license. The City Code allows the City

unbridled discretion to determine which residences shall be eligible for a license, and

therefore granted a license, according to no standards, whether or not the requirements for

obtaining a license listed in the Code have been met. City Code Article XI, Sec. 26-624, 26-

625. The City’s STR regulations therefore comprise an unconstitutional prior restraint of

Plaintiff’s protected speech in violation of the First Amendment of the United States

Constitution incorporated by the Fourteenth Amendment.

                                                10.

       The City’s STR regulations prohibits Plaintiff from truthfully advertising the number of

bedrooms in their homes if there are more than are allowed in the City’s arbitrary licensing

scheme; and prohibit Plaintiff from advertising the number of persons that are allowed to occupy
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 5 of 10




the bedrooms under the building code adopted by the City, according to their size, furnishings,

and the ingress and egress they provide, but instead require that Plaintiff advertise as prescribed

by the City’s arbitrary STR regulations. The City’s STR regulations therefore comprise an

unconstitutional prior restraint of Plaintiff’s protected speech in violation of the First

Amendment of the United States Constitution incorporated by the Fourteenth Amendment.

                                                 11.

       The City’s STR regulations also deny Plaintiff Equal Protection of the law by its

provisions allowing the City to determine in its sole unbridled discretion whether to grant or

deny an exception to its STR regulations if an application for an STR license is denied or

disallowed. This too results in an unconstitutional prior restraint of Plaintiff’s protected speech

in violation of the First Amendment to the United States Constitution.

                                                 12.

       The City STR regulations prohibit owners of homes located in the French Quarter and

Garden District of New Orleans from obtaining an STR license, and therefore, from hosting short

term rental guests in their homes, and from advertising their homes for rent on internet

platforms such as Airbnb and VRBO. This violates Plaintiff’s right to Equal Protection and

comprises a prior restraint of Plaintiff’s protected speech in violation of the First Amendment to

the United States Constitution.

                                                 13.

       The City’s STR regulations prohibit STR licenses for all homes that are not the owners’

primary principal residence, evidenced by a homestead exemption. The City’s STR regulations

authorize an STR license only for a residence with a homestead exemption. A homeowner may
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 6 of 10




obtain only one homestead exemption for a residence that is the homeowner’s primary principal

residence. This provision violates the dormant Commerce Clause, Art. 1, Sec. 8, Clause 3, of

the United States Constitution, by discriminating against non-resident homeowners. It also

denies Equal Protection of the law to homeowners with residences that do not have a

homestead exemption.

                                                14.

       The City’s STR regulations comprise an unconstitutional prior restraint of the protected

speech of all homeowners without homestead exemptions, in violation of the First Amendment

of the United States Constitution, incorporated by the Fourteenth Amendment.

                             FED. R. CIV. P. 23 ALLEGATIONS

                                                15.

       Plaintiffs bring this action individually and on behalf of all other similarly situated

persons who, since December 1, 2019, have been denied (1) the opportunity to advertise their

homes for short term rental; and (2) the opportunity to obtain short term rental licenses because

despite having homes in New Orleans, they are or were non-residents of New Orleans and

therefore are or were not eligible to obtain homestead exemptions.

                                                16.

       Specifically excluded from the class are the judges to whom this case is assigned and

their immediate families; and all employees, representatives, and attorneys for the City of New

Orleans. Also excluded are counsel for the Plaintiffs in this action and their immediate families.

                                                17.

       All proposed class members of this class, which is geographically limited to current
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 7 of 10




residents of the United States, seek relief under the same legal and remedial theories, as set forth

hereinabove, and therefore the claims of the representative plaintiffs are typical of the claims of

all proposed class members.

                                                 18.

       The questions of law and fact set forth above are common to all class members.

Common issues include, but are not limited to:

       Whether the City’s short term rental ordinance violates the Dormant Commerce Clause of

the United States Constitution;

       Whether the City’s short term rental ordinance violates the First Amendment of the

United States Constitution;

       Whether the City’s short term rental ordinance violates the Equal Protection Clause of the

United States Constitution;

       Whether Plaintiffs are entitled to damages under 42 U.S.C. 1983 for losses sustained due

to the City’s short term rental ordinance and policies pertinent thereto;

       Whether Plaintiffs are entitled to recover fines assessed by the City related to the City’s

enforcement of unconstitutional provisions of its short term rental ordinance;

       Whether Plaintiffs are entitled to equitable disgorgement of fines collected by the City in

connection with the City’s enforcement of unconstitutional provisions of its short term rental

ordinance;

       Whether Plaintiffs are entitled to declaratory relief with respect to unconstitutional

provisions of the City’s short term rental ordinance;

       Whether Plaintiffs are entitled to injunctive relief with respect to unconstitutional
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 8 of 10




provisions of the City’s short term rental ordinance.

                                                  19.

       The proposed class numbers more than one hundred persons, widely dispersed, so that

joinder is impractical.

                                                  20.

       The representative plaintiffs bring the same claims as the proposed class members, and so

will fairly and adequately represent the class. Proposed class counsel has more than twenty-five

years’ experience in class action matters, and has served as lead class counsel in certified class

actions in the Eastern District of Louisiana, the Northern District of Illinois, and in Civil District

Court for the Parish of Orleans.

                                                  21.

       The claims against defendants in this action should be maintained as a class action

pursuant to Fed. R. Civ. Proc. 23, because common issues, as set forth hereinabove,

predominate over any individual issues, and because class action is superior to other methods

available for resolution of this controversy, and because all of the provisions of Fed. R. Civ. P.

23(a) and one or more of the provisions of Fed. R. Civ P. 23(b) are met, as will be more fully

shown during the course of this litigation.

                                                  22.

       Class action is superior to other methods available for resolving this controversy, because

repetitive litigation of identical issues as presented here would waste the resources of the courts

and the parties; the class members are widely dispersed, and individual actions to protect their

interests would be costly; and this class action is superior to the repeated production and
     Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 9 of 10




evaluation of evidence that would attend litigation of individual claims, including waste of expert

and attorney labor, and the waste of the resources of the courts

        WHEREFORE, on behalf of themselves and others similarly situated, representative

plaintiffs respectfully request:

        (1)     Monetary damages for their losses sustained because of the City’s unconstitutional

                short term rental ordinance; together with interest thereon;

        (2)     Recovery of fines related to the City’s enforcement of provisions of its short term

                rental ordinance found to be unconstitutional, together with interest thereon;

        (3)     Equitable disgorgement of fines collected by the City related to the City’s

                enforcement of provisions of its short term rental ordinance found to be

                unconstitutional, together with interest thereon;

        (4)     A Preliminary and, after due proceedings, a Permanent Injunction barring

                Defendant, the City, and its officers, agents, agents, affiliates, subsidiaries,

                servants, employees, successors, and all other persons or entities in active concert

                or privity or participation with it, from enforcing the short term rental ordinances

                referred to herein or any others containing similar provisions, specifically

                including but not limited to any that disallow STR licenses entirely except to

                those already having them or having applied for them;, or that grant the City

                unbridled discretion to grant or deny exceptions to any such STR regulation

        (5)     A declaratory judgment that the City’s and the Council’s actions, policies, and

                procedures, embodied in the ordinances referred to herein, comprise an

                unconstitutional violation of the dormant Commerce Clause, Art.1, Sec.8, Cl. 3;
Case 2:19-cv-13773-ILRL-JVM Document 136 Filed 12/09/22 Page 10 of 10




        and violate the First Amendment to the United States Constitution, incorporated

        by the Fourteenth Amendment; and violate the provisions of 42 U.S.C. 1983.

  (6)   Reasonable attorney’ fees, expenses and costs under 42 U.S.C. 1988 and any other

        applicable law;

  (7)   Any further relief that the Court deems necessary and proper, and all general and

        equitable relief to which Plaintiff may be entitled.



                               Respectfully submitted,

                               /s/ Dawn Adams Wheelahan
                               Dawn Adams Wheelahan
                               Trial Counsel
                               La. Bar No. 19263
                               1819 Joseph Street
                               New Orleans, Louisiana 70115
                               Telephone: 512-689-1153
                               Email: dwheelahan@gmail.com
